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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


MERVAT MIKHAEIL,
                                       U.S. District Case No. 2:13-CV-14107
             Plaintiff,
                                       Honorable Nancy G. Edmunds
                                       Magistrate Judge David R. Grand
v.

WALGREEN’S INC.,

          Defendant.
_________________________________________________________________/


        STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

      On the stipulation of the parties:

      IT IS HEREBY ORDERED that this case is dismissed in its entirety with

prejudice and without an award of costs or attorney’s fees to any party. This Order

resolves the last pending claim and closes the case.

      IT IS SO ORDERED.



                                             s/ Nancy G. Edmunds
                                            Hon. Nancy G. Edmunds
                                             U.S. District Judge
Dated: June 9, 2015
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So stipulated:


ATNIP & ASSOCIATES, PLLC                   KIENBAUM OPPERWALL
                                            HARDY & PELTON, P.L.C.


By: Marla A. Linderman (with permission)   By: /s/Thomas J. Davis
    Marla A. Linderman (P55759)                Elizabeth Hardy (P37426)
Attorney for Plaintiff                         Thomas J. Davis (P78626)
400 Water Street                           Attorneys for Defendant
Suite 205                                  280 N. Old Woodward Avenue
Rochester, MI 48307                        Suite 400
marla@atnipattorneys.com                   Birmingham, MI 48009
                                           (248) 645-0000
                                           ehardy@kohp.com
                                           tdavis@kohp.com

Dated: 6/5/2015                            Dated: 6/5/2015

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